      Case 9:21-cv-00231-TJM-CFH Document 100-11 Filed 09/28/22 Page 1 of 4




  UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK


  RASHAUN BLANFORD,

                                               Plaintiff,                DECLARATION OF
                                                                         WILLIAM SNYDER
                                -against-
                                                                              21-CV-0231

  CORRECTION OFFICER S. BANKS, et al.,                                         TJM/CFH

                                               Defendants.


       WILLIAM SNYDER, on the date noted below and pursuant to Section 1746 of Title 28 of

the United States Code, declares the following to be true and correct under penalty of perjury under

the laws of the United States of America:

       1.      I am employed by the New York State Department of Corrections and Community

Supervision ("DOCCS").

       2.      I currently hold the position of Deputy Superintendent of Security at Marcy

Correctional Facility ("Marcy C.F.") in Marcy, New York. I have held this position since March,

2021. Prior to being promoted to Deputy Superintendent of Security at Marcy C.F. I served as the

acting Deputy Superintendent of Security at Marcy C.F. for approximately a year and a half.

       3.      I have worked for DOCCS since 1988.

       4.      Among my duties as Deputy Superintendent of Security, I am responsible for

producing CDs/DVDs from data on the Verint security system used at Marcy C.F. As such, I am

thoroughly familiar with the Verint system and its operation.

       5.      The Verint system does not contain videotape but is digital.



                                                  1
        Case 9:21-cv-00231-TJM-CFH Document 100-11 Filed 09/28/22 Page 2 of 4




        6.     Prior to 2022 when we began producing video footage on thumb drives, the procedure

of producing a CD or DVD required (i) reviewing the Verint data to locate the precise time and

location of the stored data off of the server, (ii) exporting that data to a temporary file, and (iii)

transferring that exported data to a DVD recorder, and (iv) labeling the videotape/DVD with relevant

data.

        7.     Among my duties as Deputy Superintendent of Security, I obtain and securely store

DVDs of footage captured from the Verint system cameras located at Marcy C.F. after any significant

incident, such as unusual incidents and uses of force.

        8.     Following a significant incident, the Verint system is checked to verify that the data

requested is available. If the data is available, a DVD of the specific incident requested is produced.

When producing a DVD, the description of the incident as outlined in the request is reviewed to

ensure that the entire incident (i.e., location, time, and events described therein) is captured.

        9.     At the request of the Office of the Attorney General, I directed that a duplicate DVD

be produced of the alleged February 2, 2021 incident at Marcy C.F. involving incarcerated individual

Rashaun Blanford.

        10.    The duplicate DVD produced was for approximately 7 minutes of footage from the

Verint cameras noted above, starting at 12:32 hrs.

        11.    No other duplicate DVDs involving the February 2, 2021 alleged incident referenced

above concerning Mr. Blanford were produced from the Verint System.

        12.    The Verint system only has the capacity to store 30 to 45 days of data. Therefore,

requests for data made more than 30 to 45 days from the date it was recorded cannot be processed, as

the system would no longer contain the data and there is no way it can be recovered if it were not

already copied and retained.
                                                    2
Case 9:21-cv-00231-TJM-CFH Document 100-11 Filed 09/28/22 Page 3 of 4
   Case 9:21-cv-00231-TJM-CFH Document 100-11 Filed 09/28/22 Page 4 of 4




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


RASHAUN BLANFORD,

                                           Plaintiff,

                   -against-                                         21-CV-0231

BANKS et. al.,                                                       TJM/CFH

                                        Defendants.




                                 EXHIBIT A -- VIDEO

                 (Confidential and Submitted for In-Camera Review)
